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 7
   Attorneys for Counter-Defendant
 8 Tauler Smith LLP
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10
                         UNITED STATES DISTRICT COURT
11
                       SOUTHERN DISTRICT OF CALIFORNIA
12
     IN RE OUTLAW LABORATORIES,          Case No.: 18-cv-840-GPC-BGS
13
     LP LITIGATION
14                                       DECLARATION OF KEVIN J. COLE
                                         RE COUNTER-DEFENDANT TAULER
15                                       SMITH LLP’S RESPONSE TO THE
16                                       COURT’S MARCH 29, 2021 ORDER
                                         REGARDING THE REDACTION OF
17                                       CERTAIN DOCUMENTS
18
                                         Judge:     Hon. Gonzalo P. Curiel
19                                       Courtroom: Courtroom 2D
20
                                         Filed Concurrently:
21                                          1. Response to the Court’s March 29,
22                                             2021 Order

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                                                            Case No. 18-cv-840-GPC-GBS
                             DECLARATION OF KEVIN J. COLE
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 1                           DECLARATION OF KEVIN J. COLE
 2         I, Kevin J. Cole, declare as follows:
 3         1.    I am licensed to practice before this Court. I am counsel of record for
 4 Counter-Defendant Tauler Smith LLP (“Tauler Smith”), and I submit this Declaration in
 5 support of my client’s Response to the Court’s March 29, 2021 Order Regarding the
 6 Redaction of Certain Documents. See Dkt. No. 358.
 7         2.    More specifically, I submit this Declaration to authenticate the three exhibits
 8 Tauler Smith filed under seal in connection with the Parties’ Joint Statement re Contact
 9 Information of Certain Stores Identified in Tauler Smith’s Supplemental Interrogatory
10 Responses (Dkt. No. 354).
11         3.    Attached hereto as Exhibit B1 is a true and correct copy of a document
12 produced by Tauler Smith earlier in this litigation, which is Bates-labeled TSLLP7630.
13 Pursuant to the Court’s March 29, 2021 Order (Dkt. No. 358), my office has redacted the
14 names and contact information of the non-parties identified in this document.
15         4.    Attached hereto as Exhibit C is a true and correct copy of Tauler Smith’s
16 January 29, 2021 (further) Supplemental Responses to the Stores’ First Set of Interrogatory
17 Requests. Tauler Smith was ordered to provide additional responses in Magistrate Judge
18 Skomal’s January 12, 2021 Discovery Order (Dkt. 346). Pursuant to the Court’s March
19 29, 2021 Order (Dkt. No. 358), my office has redacted the names and contact information
20 of the non-parties identified in this document.
21         5.    Attached hereto as Exhibit D is a further supplemental response by Tauler
22 Smith, identifying contact information for the additional 34 stores listed in its January 29,
23 2021 supplemental interrogatory response. Again, pursuant to the Court’s March 29, 2021
24 Order (Dkt. No. 358), my office has redacted the names and contact information of the
25 non-parties identified in this document.
26
27
    Exhibit A to the Parties’ Joint Statement was filed publicly, not under seal. See Dkt. No.
     1
28 354-1.
                                           1                  Case No. 18-cv-840-GPC-GBS
                                 DECLARATION OF KEVIN J. COLE
Case 3:18-cv-00840-GPC-BGS Document 360-1 Filed 03/30/21 PageID.8710 Page 3 of 22



 1        I declare under penalty of perjury under the laws of the United States that the
 2 foregoing is true and correct.
 3
     DATED: March 30, 2021               By:   /s/ Kevin J. Cole
 4                                             Kevin J. Cole, Esq.
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                                DECLARATION OF KEVIN J. COLE
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                           Ex. B
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                          Ex. C
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10 Attorneys for Counter-Defendant
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                         UNITED STATES DISTRICT COURT
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                      SOUTHERN DISTRICT OF CALIFORNIA
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15   IN RE OUTLAW LABORATORIES,           Case No.: 18-cv-840-GPC-BGS
     LP LITIGATION
16                                        COUNTER-DEFENDANT TAULER
                                          SMITH LLP’S SUPPLEMENTAL
17
                                          RESPONSES TO THE STORE
18                                        DEFENDANTS’ FIRST SET OF
19                                        INTERROGATORIES

20                                        Judge:     Hon. Gonzalo P. Curiel
                                          Courtroom: Courtroom 2D
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22                                        Action Filed:      May 2, 2018

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                                                          Case No.: 18-cv-840-GPC-BGS
     TAULER SMITH LLP’S SUPPLEMENTAL RESPONSES TO THE STORE DEFENDANTS’ FIRST
                              SET OF INTERROGATORIES
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 1                                  PROOF OF SERVICE

 2       I, Chen Wang, declare that I am over the age of 18 years, and am not a party to the
 3 within action. I am employed in the County of Los Angeles, California, where the mailing
   occurs, and my business address is 9701 Wilshire Blvd., Suite 1000, Beverly Hills, CA
 4 90212.
 5
         On January 29, 2021, I served COUNTER-DEFENDANT TAULER SMITH
 6 LLP’S SUPPLEMENTAL RESPONSES TO THE STORE DEFENDANTS’ FIRST
 7 SET OF INTERROGATORIES on the interested party through its attorneys of record,
   by the method checked below, addressed as follows:
 8
   Mark Poe
 9 mpoe@gawpoe.com
   Randolph Gaw
10 rgaw@gawpoe.com
   Samuel Song
11 ssong@gawpoe.com
   Victor Meng
12 vmeng@gawpoe.com
13 GAW    POE LLP
   4 Embarcadero, Suite 1400
14 San Francisco, CA 94111
15 [X] BY ELECTRONIC MAIL: Based on an agreement between the parties to accept
   electronic service, I caused the document described above to be sent to the addressee(s) at
16
   the electronic mail service addresses indicated above.
17
18        I declare under penalty of perjury under the laws of the United States of America
   and of the State of California that the foregoing is true and correct.
19
20        Executed on January 29, 2021 in Los Angeles, California.

21
22
23
24                                        __________________________________
                                                    Chen Wang
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                                             11              Case No.: 18-cv-840-GPC-BGS
     TAULER SMITH LLP’S SUPPLEMENTAL RESPONSES TO THE STORE DEFENDANTS’ FIRST
                              SET OF INTERROGATORIES
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